Case 4:21-cv-02427 Document 10-1 Filed on 09/09/21 in TXSD Page 1 of 35




                      Exhibit 1
    Case 4:21-cv-02427 Document 10-1 Filed on 09/09/21 in TXSD Page 2 of 35




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
DAMON CHARGOIS                      §
                                    §
       Plaintiff,                   §
                                    §    C.A. NO. 4:21-CV-02427
    V.                              §
                                    §
LABATON SUCHAROW,                   §
ERIC J. BELFI, AND CHRISTOPHER      §
J. KELLER                           §
                                    §
       Defendants.

              ADDITIONAL DECLARATION OF ERIC J. BELFI
       I, Eric J. Belfi, hereby declare the following pursuant to 28 U.S.C. § 1746:

       1.     I am a Partner in the law firm of Labaton Sucharow LLP (“Labaton”)

 and a member of the firm’s Executive Committee. The following statement is within

 my personal knowledge and is true and correct.

       2.     Pursuant to an alleged oral agreement, Plaintiff Damon Chargois claims

 to be entitled to twenty percent (20%) of the net fees awarded to Labaton in all cases

 in which Arkansas Teacher Retirement System (“ATRS”) was lead plaintiff and

 Labaton was awarded fees. See Orig. Pet. ¶ 12; Orig. Pet. Exhibit “A” at 150:10-18

 (Docket No. 1-4).

       3.     In re Extreme Networks, Inc. Securities Litigation, Case No. 15-cv-

 04883-BLF, in the United States District Court for the Northern District of

 California, was one such case. Labaton represented ATRS as lead plaintiff in that
Case 4:21-cv-02427 Document 10-1 Filed on 09/09/21 in TXSD Page 3 of 35
Case 4:21-cv-02427 Document 10-1 Filed on 09/09/21 in TXSD Page 4 of 35




              EXHIBIT A
                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 1 of 520of 35




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                                   2

                                   3                                UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7      In re EXTREME NETWORKS, INC.                      Case No. 15-cv-04883-BLF
                                          SECURITIES LITIGATION
                                   8                                                        ORDER GRANTING LEAD
                                                                                            PLAINTIFF’S MOTION FOR FINAL
                                   9                                                        APPROVAL OF CLASS ACTION
                                                                                            SETTLEMENT AND PLAN OF
                                  10                                                        ALLOCATION; GRANTING LEAD
                                                                                            COUNSEL’S MOTION FOR AN
                                  11                                                        AWARD OF ATTORNEYS’ FEES AND
                                                                                            PAYMENT OF EXPENSES
                                  12
Northern District of California




                                                                                            [Re: ECF 172, 173]
 United States District Court




                                  13

                                  14

                                  15           On June 27, 2019, the Court heard (1) Lead Plaintiff’s Motion for Final Approval of Class
                                  16    Action Settlement and Plan of Allocation (Appr. Mot., ECF 172), and (2) Lead Counsel’s Motion
                                  17    for an Award of Attorneys’ Fees and Payment of Expenses (Fees Mot., ECF 173). For the reasons
                                  18    discussed below and those stated on the record at the hearing on the motions, the motions are
                                  19    GRANTED.
                                  20      I.   BACKGROUND
                                  21           A.      Facts
                                  22           This is a putative class action for securities fraud brought against Extreme Networks, Inc.
                                  23    (“Extreme”) and its officers Charles W. Berger, John T. Kurtzweil, and Kenneth B. Arola
                                  24    (“Individual Defendants”) (collectively with Extreme, “Defendants”). Founded in 1966, Extreme
                                  25    is a Delaware corporation with its principal offices in San Jose, California. See First Am. Compl.
                                  26    (“FAC”) ¶ 2, 32, ECF 105. Extreme develops and sells network infrastructure equipment such as
                                  27    wired and wireless devices for accessing the Internet, as well as related software. Id. ¶ 2. The
                                  28    Individual Defendants were officers and directors of Extreme during the time relevant to this
                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 2 of 620of 35




                                   1    litigation. Defendant Charles W. Berger was Extreme’s President and Chief Executive Officer

                                   2    (“CEO”) and a member of Extreme’s Board of Directors from April 2013 until April 19, 2015.

                                   3    Id. ¶ 34. Defendant John T. Kurtzweil was Extreme’s Chief Financial Officer (“CFO”) and Senior

                                   4    Vice President from June 29, 2012 until June 1, 2014. Id. ¶ 35. From June 2, 2014 until

                                   5    September 30, 2014, Kurtzweil served as Special Assistant to the CEO. Id. Defendant Kenneth

                                   6    B. Arola was the Company’s CFO and Senior Vice President from June 2, 2014 through May

                                   7    2016. Id. ¶ 36.

                                   8           The First Amended Complaint (“FAC”) alleges that Defendants misrepresented to

                                   9    investors the success of Extreme’s post-acquisition integration with its former competitor,

                                  10    Enterasys Networks, Inc. (“Enterasys”), as well as developments in Extreme’s “key partnership”

                                  11    with Lenovo Group Ltd. (“Lenovo”). See, e.g., id. ¶¶ 1–18. Defendants’ positive representations

                                  12    to investors about the resulting “synergies” from the Enterasys integration and benefits of the
Northern District of California
 United States District Court




                                  13    Lenovo partnership—including a commitment that cost savings from these arrangements would

                                  14    lead to double-digit revenue growth and a 10% operating margin by June 2015—caused Extreme’s

                                  15    stock price to rise. Id. ¶¶ 17–19. Extreme’s stock price then dropped when Extreme reported

                                  16    disappointing financial results at various points between February 2014 and the end of the Class

                                  17    Period on April 9, 2015. Id. ¶¶ 20–22.

                                  18           Relying on six confidential witnesses (“CWs”), Lead Plaintiff Arkansas Teacher

                                  19    Retirement System (“ATRS” or “Lead Plaintiff”) alleged that Defendants knew or recklessly

                                  20    disregarded material adverse facts regarding the lack of any integration plan for the Enterasys

                                  21    merger, which was not “on track” or “complete” as represented. Id. ¶ 13. ATRS also pointed to

                                  22    accounts from CWs that the Lenovo partnership was largely unproductive, in direct contrast to

                                  23    Defendants’ representations to the market. Id. ¶ 17. According to ATRS, Defendants’ false

                                  24    statements caused Extreme’s stock to trade at artificially inflated prices between September 12,

                                  25    2013, and April 9, 2015 (the “Class Period”), reaching a high of $8.14 per share on January 23,

                                  26    2014. Id. ¶ 19. ATRS alleges that four partial corrective disclosures by Defendants announcing

                                  27    revenue shortfalls, guidance misses, and turnovers of Extreme executives, caused the stock price

                                  28    to plummet as the undisclosed risks relating to Enterasys integration and Lenovo partnership
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 3 of 720of 35




                                   1    materialized. Id. ¶ 20–22.

                                   2           Defendants have agreed to pay $7,000,000 in cash, to secure a settlement of the claims in

                                   3    the Action and related claims that could have been brought (“Released Claims”).

                                   4           B.      Procedural History
                                   5           This litigation has a long history of nearly four years. In October of 2015, two securities

                                   6    class action complaints were filed on behalf of individuals who invested in Extreme during the

                                   7    relevant time period.1 On December 1, 2015, the Court granted the parties’ stipulation to

                                   8    consolidate the two actions. ECF 18. On June 28, 2016, the Court appointed ATRS as Lead

                                   9    Plaintiff, Labaton Sucharow LLP as Lead Counsel, and Berman DeValerio2 as Liaison Counsel to

                                  10    represent the putative class. ECF 75.

                                  11           On September 26, 2016, ATRS filed a Consolidated Class Action Complaint on behalf of

                                  12    all investors who purchased the publicly traded common stock of Extreme and/or exchange-traded
Northern District of California
 United States District Court




                                  13    options on such common stock during the Class Period. See Consol. Compl. ¶ 1, ECF 87. Prior to

                                  14    filing the Consolidated Complaint, Lead Counsel conducted extensive factual investigation,

                                  15    including reviewing SEC documents, press releases, and other publicly available information, as

                                  16    well as reviewing research reports issued by financial analysists and other public data. Villegas

                                  17    Decl. ISO Final Appr. (“Villegas Decl.”) ¶ 17, ECF 174. Lead Counsel also interviewed former

                                  18    employees of Extreme and other persons with relevant knowledge and consulted with an

                                  19    economics expert for loss causation and damages. Id. The Consolidated Complaint asserted two

                                  20    causes of action, based on the facts described above: (1) violation of § 10(b) of the Securities

                                  21    Exchange Act of 1934 and Rule 10b-5 against all Defendants; and (2) violation of § 20(a) of the

                                  22    Securities Exchange Act of 1934 against the Individual Defendants for liability as control persons

                                  23    of Extreme. See generally Consol. Compl.

                                  24           On November 10, 2016, Defendants moved to dismiss the Consolidated Complaint. See

                                  25    ECF 89. On April 17, 2017, the Court granted Defendants’ motion with leave to amend because

                                  26
                                        1
                                  27      See Hong v. Extreme Networks, Inc., et al., No. 5:15-cv-04883-BLF, Compl., ECF 1 (Oct. 23,
                                        2015); and Kasprzak v. Extreme Networks, Inc., et al., No. 5:15-cv-04975-BLF, Compl., ECF 1
                                  28    (Oct. 29, 2015).
                                        2
                                          Berman DeValerio has since been renamed Berman Tabacco.
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                                       Case 4:21-cv-02427
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                                                5:15-cv-04883-BLF   10-1 Filed
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                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
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                                   1    ATRS had failed to adequately plead that Defendants made any false or misleading statements and

                                   2    that they did so with scienter. See ECF 102 at 42. On May 29, 2017, ATRS filed its First

                                   3    Amended Complaint, asserting the same two causes of action for securities violations against the

                                   4    same Defendants, focusing their amended factual allegations on statements that the Court had

                                   5    indicated were actionable. See generally FAC. Prior to filing the FAC, ATRS contacted 148

                                   6    former employees of Extreme and interviewed 24 of those employees. Villegas Decl. ¶ 25. ATRS

                                   7    also consulted with an expert in the field of executive compensation. Id. On July 10, 2017,

                                   8    Defendants filed a motion to dismiss the FAC. See ECF 107. On March 21, 2018, the Court

                                   9    granted in part and denied in part Defendants’ motion to dismiss, finding that ATRS stated a claim

                                  10    under Section 10(b) and Rule 10b-5 against all Defendants except Kurtzweil and that ATRS stated

                                  11    a claim under Section 20(a) against the Individual Defendants. On June 21, 2018, more than one

                                  12    and a half years after the Consolidated Complaint was filed and over two and a half years after the
Northern District of California
 United States District Court




                                  13    lawsuit’s inception, Defendants answered the FAC. See ECF 145.

                                  14           The parties then engaged in some discovery, including numerous requests for production

                                  15    and interrogatories and their responses, as well as depositions. Lead Plaintiff served eighty-seven

                                  16    requests for the production of documents on Defendants on April 30, 2018. Villegas Decl. ¶ 33.

                                  17    Defendants served responses and objections to Lead Plaintiff’s document requests on June 14,

                                  18    2018. Id. The parties exchanged initial disclosures on May 21, 2018. Id. And the parties met and

                                  19    conferred extensively regarding the production of electronically stored information and a

                                  20    protective order governing the disclosures in the action. Id. ¶ 34.

                                  21           Concurrently with discovery, the parties engaged in mediation and settlement discussions.

                                  22    On July 18, 2018, the parties attended an in-person mediation with Robert A. Meyer, Esq. (“Mr.

                                  23    Meyer”), an experienced mediator. Id. ¶¶ 35–36. The initial mediation was preceded by the

                                  24    exchange of mediation statements and Defendants’ production of approximately 1,270 pages of

                                  25    documents, including Board of Director minutes and presentations, which Lead Counsel reviewed.

                                  26    Id. ¶¶ 36–37. Following rigorous arm’s length negotiations led by Mr. Meyer, the parties accepted

                                  27    a mediator’s proposal on August 17, 2018. Id. ¶ 38. On September 26, 2018, the parties entered

                                  28    into a settlement term sheet, and on November 30, 2018, ATRS filed the finalized settlement
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                                       Case 4:21-cv-02427
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                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 5 of 920of 35




                                   1    agreement in support of its motion seeking preliminary approval of the settlement. See ECF 155,

                                   2    156-1.

                                   3             C.   Settlement Agreement, Allocation Plan, and Notice Plan
                                   4             On March 13, 2019, the Court granted ATRS’s motion for preliminary approval of class

                                   5    action settlement and approved the forms of notice to the Settlement Class. See ECF 167. The

                                   6    class includes “all persons and entities that purchased or otherwise acquired the publicly traded

                                   7    common stock and exchange-traded call options, and/or sold put options, of Extreme Networks,

                                   8    Inc. during the period from September 12, 2013 through April 9, 2015, inclusive, and who were

                                   9    damaged thereby.” See ECF 156-1 (“Agreement”) at 10 ¶ hh. Under the Settlement Agreement,

                                  10    Extreme has agreed to provide a settlement fund in the amount of $7 million. See Agreement at

                                  11    10 ¶ gg, 13 ¶ 6. Of the $7 million, the Settlement Class will receive what remains after subtracting

                                  12    the cost of any attorney’s fees and expenses, notice and administration costs, Lead Plaintiff’s
Northern District of California
 United States District Court




                                  13    service awards, and applicable taxes (the “Net Settlement Fund”). Villegas Decl. ¶ 62; Agreement

                                  14    ¶ 26. The Net Settlement Fund will be distributed among claimants on a pro rata basis based on

                                  15    “Recognized Loss” formulas tied to claimants’ potential damages and developed by ATRS’s

                                  16    expert. Settlement Agreement ¶¶ 22–26; Villegas Decl. ¶ 63; ECF 167 ¶¶ 48–57. Each claimant’s

                                  17    calculated recognized loss will be compared to the aggregate recognized loss of all claimants to

                                  18    determine that claimant’s pro rata share of the settlement fund. Villegas Decl. ¶ 64. Because the

                                  19    Court dismissed claims prior to February 5, 2014, but the class covers individuals who purchased

                                  20    shares prior to that date, those individuals’ claims will be calculated using 20% of the alleged

                                  21    artificial inflation of the share prices. Id. ¶ 63.

                                  22             The Court preliminarily approved, and the Settlement Administrator (“KCC”) and the

                                  23    parties complied with, the following notice process: KCC obtained the names and addresses of

                                  24    potential settlement class members from listings provided by Extreme’s transfer agent and from

                                  25    banks, brokers, and other nominees. Villegas Decl. ¶ 42; Villegas Decl., Ex. 2 ¶¶ 1–7, ECF 174-2.

                                  26    KCC sent by first-class mail notice packets (containing the notice and claim form) to settlement

                                  27    class members and potential nominees (third-party purchasers who may have purchased shares on

                                  28    behalf of potential claimants). Villegas Decl. ¶ 42; Villegas Decl., Ex. 2 ¶¶ 4–7. As of June 4,
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                                                                             182            in TXSD
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                                                                                                  Page 6 of10
                                                                                                            20of 35




                                   1     2019, KCC had mailed 27,972 notice packets. Suppl. Decl. of Lance Cavallo ¶ 2, ECF 177. The

                                   2     summary notice was also published in Investor’s Business Daily and disseminated over PR

                                   3     Newswire. Villegas Decl. ¶ 43. KCC also created and maintained a settlement website. Villegas

                                   4     Decl., Ex. 2 ¶ 10.

                                   5            The Agreement (and approved notice plan) contemplates a process for direct payments to

                                   6     the class members. First, class members needed to submit by June 6, 2019 a simple claim form

                                   7     for their shares purchased during the class period. Villegas Decl. ¶ 61; ECF 167. The direct mail

                                   8     and website notices informed members of the opportunity to opt out through a simple form.

                                   9     Requests for exclusions or objections needed to be filed by May 23, 2019. Villegas Decl. ¶ 45;

                                  10     ECF 167. Once KCC has processed submitted claims and provided claimants with an opportunity

                                  11     to cure deficiencies or challenge rejection determinations, payment distributions will be made to

                                  12     eligible claimants through PayPal (for all payments below $10.00 and for payments between
Northern District of California
 United States District Court




                                  13     $10.00 and $100.00 for those who elect this option), or by check. Villegas Decl. ¶ 65. At least six

                                  14     months after the initial distribution of the funds, any funds remaining will be redistributed to those

                                  15     who have previously cashed their checks. Id. This process will be repeated until the remaining

                                  16     sum is no longer economically feasible to distribute. At that time, Lead Counsel will request with

                                  17     the Court that the unclaimed balance be distributed to a Cy Pres Recipient: Consumer Federation

                                  18     of America (“CFA”). Id. CFA is a national non-profit consumer advocacy organization for

                                  19     investor protection; it has been approved as a Cy pres beneficiary in several securities cases in

                                  20     California. Id. ¶ 66.

                                  21            As of June 4, 2019, 1,244 valid claims had been submitted, representing over 66,777,000

                                  22     shares of common stock purchased during the class period. Villegas Decl., Ex. 2 ¶¶ 5–6. Of

                                  23     those claims, 888 were filed by or on behalf of institutions and 356 claims were submitted by or

                                  24     on behalf of individuals. Id. ¶ 5.

                                  25            On June 20, 2019, the Court held a hearing on the motions. Counsel represented on the

                                  26     record at the hearing that a total of 3,845 claims had been received, constituting a response rate of

                                  27     approximately 14 percent. Counsel also represented that of these claims, over 3,000 had been

                                  28     filed by or on behalf of institutions and approximately 400 by or on behalf of individuals. The
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                                                                             182            in TXSD
                                                                                  Filed 07/22/19    Page
                                                                                                  Page 7 of11
                                                                                                            20of 35




                                   1     deadline to submit claims had passed, but Counsel was continuing to accept claims through an

                                   2     informal grace period. At the hearing, this Court ordered Lead Counsel to post by June 21, 2019 a

                                   3     firm grace period termination date of June 28, 2019 on the website maintained by KCC, and to

                                   4     accept only claims filed before that date as determined by postmark and email timestamp. Only

                                   5     two requests for exclusion were received by June 20, 2019, one of which was deemed invalid for

                                   6     failing to provide the requisite information and neglecting to cure the deficiency when notified by

                                   7     KCC that the exclusion request was invalid. Villegas Decl., Ex. 2 ¶ 3. There were no objectors

                                   8     before the deadline and no objectors appeared at the hearing. Id. Counsel represented on the

                                   9     record at the hearing that initial distribution was expected to commence in December 2019. The

                                  10     Court indicated on the record that both motions would be granted. On the day of the hearing, the

                                  11     Court issued an order approving the Plan of Allocation. ECF 180.

                                  12      II.   MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
Northern District of California
 United States District Court




                                  13            In order to grant final approval of the class action settlement, the Court must determine

                                  14     that (1) the class meets the requirements for certification under Federal Rule of Civil Procedure

                                  15     23, and (2) the settlement reached on behalf of the class is fair, reasonable, and adequate. See

                                  16     Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003) (“Especially in the context of a case in

                                  17     which the parties reach a settlement agreement prior to class certification, courts must peruse the

                                  18     proposed compromise to ratify both the propriety of the certification and the fairness of the

                                  19     settlement.”).

                                  20            A.    The Class Meets the Requirements for Certification under Rule 23
                                  21            A class action is maintainable only if it meets the four requirements of Rule 23(a):

                                  22                      (1)   the class is so numerous that joinder of all members is
                                                                impracticable;
                                  23
                                                          (2)   there are questions of law or fact common to the class;
                                  24
                                                          (3)   the claims or defenses of the representative parties are
                                  25                            typical of the claims or defenses of the class; and
                                  26                      (4)   the representative parties will fairly and adequately protect
                                                                the interests of the class.
                                  27

                                  28     Fed. R. Civ. P. 23(a). In a settlement-only certification context, the “specifications of the Rule—
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                                            4:21-cv-02427  DocumentDocument
                                                5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                                                             182            in TXSD
                                                                                  Filed 07/22/19    Page
                                                                                                  Page 8 of12
                                                                                                            20of 35




                                   1     those designed to protect absentees by blocking unwarranted or overbroad class definitions—

                                   2     demand undiluted, even heightened, attention.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

                                   3     620 (1997).

                                   4             In addition to satisfying the Rule 23(a) requirements, “parties seeking class certification

                                   5     must show that the action is maintainable under Rule 23(b)(1), (2), or (3).” Id. at 614. Plaintiffs

                                   6     seek certification under Rule 23(b)(3), which requires that (1) “questions of law or fact common to

                                   7     class members predominate over any questions affecting only individual members” and (2) “a

                                   8     class action is superior to other available methods for fairly and efficiently adjudicating the

                                   9     controversy.” Fed. R. Civ. P. 23(b)(3).

                                  10             The Court concluded that these requirements were satisfied when it granted preliminary

                                  11     approval of the class action settlement. See ECF 167. The Court is not aware of any new facts

                                  12     which would alter that conclusion. However, the Court reviews the Rule 23 requirements again
Northern District of California
 United States District Court




                                  13     briefly, as follows.

                                  14             Turning first to the Rule 23(a) prerequisites, the Court has no difficulty concluding that

                                  15     because the class contains thousands of members (3,845 claims filed as of the June 20, 2019

                                  16     hearing), joinder of all class members would be impracticable. The commonality requirement is

                                  17     met because the key issues in the case are the same for all class members, including, for example,

                                  18     whether Defendants misrepresented material facts or omitted material facts for publicly traded

                                  19     stocks in violation of the law and whether these alleged actions artificially inflated the stock price.

                                  20     See Villegas Decl. ¶ 31. ATRS’s claims are typical of those of the class, as it advances the same

                                  21     claims, shares identical legal theories, and allegedly experienced losses from Extreme’s

                                  22     misrepresentations. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998) (typicality

                                  23     requires only that the claims of the class representatives be “reasonably co-extensive with those of

                                  24     absent class members”). Finally, to determine ATRS’s adequacy, the Court “must resolve two

                                  25     questions: (1) do the named plaintiffs and their counsel have any conflicts of interest with other

                                  26     class members and (2) will the named plaintiffs and their counsel prosecute the action vigorously

                                  27     on behalf of the class?” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 985 (9th Cir. 2011)

                                  28     (internal quotation marks and citation omitted). The Court has no reservations regarding the
                                                                                            8
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                                            4:21-cv-02427  DocumentDocument
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                                                                             182            in TXSD
                                                                                  Filed 07/22/19    Page
                                                                                                  Page 9 of13
                                                                                                            20of 35




                                   1     abilities of Class Counsel or their zeal in representing the class, and the record discloses no

                                   2     conflict of interest which would preclude ATRS from acting as class representative. See Villegas

                                   3     Decl. ¶¶ 4, 16, 101.

                                   4            With respect to Rule 23(b)(3), the “predominance inquiry tests whether proposed classes

                                   5     are sufficiently cohesive to warrant adjudication by representation.” Amchem, 521 U.S. at 623.

                                   6     The common questions in this case which would be subject to common proof include whether

                                   7     Defendants misrepresented material facts or omitted material facts for publicly traded stocks in

                                   8     violation of the law, whether Defendants had a duty to disclose alleged material omissions or acted

                                   9     with scienter, and whether the market price of Extreme’s common stock during the class period

                                  10     was artificially inflated due to the alleged material omissions and/or misrepresentations. Villegas

                                  11     Decl. ¶ 31; see generally ECF 130. These questions predominate. Moreover, given this

                                  12     commonality, and the number of potential class members, the Court concludes that a class action
Northern District of California
 United States District Court




                                  13     is a superior mechanism for adjudicating the claims at issue.

                                  14            Accordingly, the Court concludes that the requirements of Rule 23 are met and that

                                  15     certification of the class for settlement purposes is appropriate. Plaintiff Arkansas Teacher

                                  16     Retirement System is hereby appointed as class representative and Labaton Sucharow LLP is

                                  17     appointed class counsel.

                                  18            B.    The Settlement is Fundamentally Fair, Adequate, and Reasonable
                                  19            Federal Rule of Civil Procedure 23(e) “requires the district court to determine whether a

                                  20     proposed settlement is fundamentally fair, adequate, and reasonable.” Hanlon, 150 F.3d at 1026.

                                  21     In the Ninth Circuit, courts use a multi-factor balancing test to analyze whether a given settlement

                                  22     is fair, adequate and reasonable. That test includes the following factors:

                                  23            the strength of the plaintiffs’ case; the risk, expense, complexity, and likely
                                                duration of further litigation; the risk of maintaining class action status throughout
                                  24            the trial; the amount offered in settlement; the extent of discovery completed and
                                                the stage of the proceedings; the experience and views of counsel; the presence of a
                                  25            governmental participant; and the reaction of the class members to the proposed
                                                settlement.
                                  26
                                  27     Id. at 1026–27; see also Lane v. Facebook, Inc., 696 F.3d 811, 819 (9th Cir. 2012) (discussing

                                  28     Hanlon factors).
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                                       Case 4:21-cv-02427
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                                                                                        07/22/19     Page
                                                                                                  Page 10 of1420of 35




                                   1            Recent amendments to Rule 23 require the district court to consider a similar list of factors

                                   2     before approving a settlement, including whether:

                                   3            (A) the class representatives and class counsel have adequately represented the class;

                                   4            (B) the proposal was negotiated at arm’s length;

                                   5            (C) the relief provided for the class is adequate, taking into account:

                                   6                    (i) the costs, risks, and delay of trial and appeal;

                                   7                    (ii) the effectiveness of any proposed method of distributing relief to the

                                   8                    class, including the method of processing class-member claims;

                                   9                    (iii) the terms of any proposed award of attorney’s fees, including timing of

                                  10                    payment; and

                                  11                    (iv) any agreement required to be identified under Rule 23(e)(3);

                                  12            (D) the proposal treats class members equitably relative to each other.
Northern District of California
 United States District Court




                                  13     Fed. R. Civ. P. 23(e)(2).

                                  14            In the Advisory Committee notes to the amendment, the Advisory Committee states that

                                  15     “[c]ourts have generated lists of factors to shed light” on whether a proposed class-action

                                  16     settlement is “fair, reasonable, and adequate.” Advisory Committee Notes to 2018 Amendments,

                                  17     Fed. R. Civ. P. 23(e)(2) (“2018 R23 Advisory Notes”). The notes of the Advisory Committee

                                  18     explain that the enumerated, specific factors added to Rule 23(e)(2) are not intended to “displace”

                                  19     any factors currently used by the courts, but instead aim to focus the court and attorneys on “the

                                  20     core concerns of procedure and substance that should guide the decision whether to approve the

                                  21     proposal.” Id.; cf. United States v. Vonn, 535 U.S. 55, 64 n.6 (2002) (“[T]he Advisory Committee

                                  22     Notes provide a reliable source of insight into the meaning of a rule . . . .”). Accordingly, the

                                  23     Court applies the framework set forth in Rule 23 with guidance from the Ninth Circuit’s

                                  24     precedent, bearing in mind the Advisory Committee’s instruction not to let “[t]he sheer number of

                                  25     factors” distract the Court and parties from the “central concerns” underlying Rule 23(e)(2).

                                  26            Because this settlement occurs before formal class certification, the Court must also ensure

                                  27     that the class settlement is not the “product of collusion among the negotiating parties.” In re

                                  28     Bluetooth Headset Prods. Liab. Litig., 654 F. 3d 935, 946–47 (9th Cir. 2011).
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 11 of1520of 35




                                   1                  1. Adequacy of Notice

                                   2            “Adequate notice is critical to court approval of a class settlement under Rule 23(e).

                                   3     Hanlon, 150 F.3d at 1025. For the Court to approve a settlement, “[t]he class must be notified of a

                                   4     proposed settlement in a manner that does not systematically leave any group without notice.”

                                   5     Officers for Justice v. Civil Serv. Comm’n of City & County of San Francisco, 688 F.2d 615, 624

                                   6     (9th Cir. 1982) (citation omitted).

                                   7            The Court previously approved the parties’ proposed notice procedures. See ECF 167. In

                                   8     the motion for final approval, ATRS states that it followed this approved notice plan. Appr. Mot.

                                   9     at 3. After determining the best way to contact potential members of the class, KCC mailed

                                  10     almost 28,000 notice packets to potential class members and nominees. Cavallo Suppl. Decl. ¶ 3.

                                  11     The notice informed the class members of all key aspects of the Settlement, hearings, and the

                                  12     process for objections. Id. In addition, the Court-approved summary notice was published in
Northern District of California
 United States District Court




                                  13     Investor’s Business Daily, transmitted over PR Newswire, and posted on the dedicated website.

                                  14     Villegas Decl. ¶ 103; Villegas Decl., Ex. 2 ¶ 10. Class counsel represented at the hearing that this

                                  15     notice process resulted in approximately 14% of the potential class submitting claims. This

                                  16     response rate is substantial.

                                  17            In light of these actions and the Court’s prior order granting preliminary approval, the

                                  18     Court finds that the parties have provided sufficient notice to the class members. See Lundell v.

                                  19     Dell, Inc., Case No. 05-3970 JWRS, 2006 WL 3507938, at *1 (N.D. Cal. Dec. 5, 2006) (holding

                                  20     that notice via email and first class mail constituted the “best practicable notice” and satisfied due

                                  21     process requirements).

                                  22                  2. Rule 23(e)/Hanlon Factors

                                  23            Turning to the Rule 23(e) factors, the Court first considers whether “the class

                                  24     representatives and class counsel have adequately represented the class” and whether “the

                                  25     proposal was negotiated at arm’s length.” Fed. R. Civ. P. 23(e)(2)(A)–(B). These considerations

                                  26     overlap with certain Hanlon factors, such as the non-collusive nature of negotiations, the extent of

                                  27     discovery completed, and the stage of proceedings. See Hanlon, 150 F.3d at 1026.

                                  28            As discussed above when certifying the class, the Court finds that both Lead Plaintiff and
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 12 of1620of 35




                                   1     Class Counsel have adequately represented the class. In its Preliminary Approval Order, the Court

                                   2     found no evidence of a conflict between class representatives or counsel and the rest of the class.

                                   3     ECF 167 ¶ 3. No contrary evidence has emerged. Similarly, the Court found that counsel has

                                   4     vigorously prosecuted this action through dispositive motion practice, extensive initial discovery,

                                   5     and formal mediation. See Villegas Decl. ¶¶ 3–39, 90–91. Counsel possessed sufficient

                                   6     information to make an informed decision about the settlement, and its preliminary approval

                                   7     motion included information regarding settlement outcomes of similar cases, further indicating

                                   8     that counsel had adequate information from which to negotiate the settlement. See 2018 R23

                                   9     Advisory Notes. The Court finds that counsel has continued to represent the class diligently by

                                  10     complying with the notice plan and settlement procedures. See Villegas Decl. ¶¶ 40–45. ATRS

                                  11     likewise actively participated in the prosecution of this case, including reviewing filings and

                                  12     discovery, and attending and participating in settlement negotiations. See ECF 174-1. Thus, the
Northern District of California
 United States District Court




                                  13     Court finds the adequacy of representation weighs in favor of approval.

                                  14            The Settlement was also the product of arm’s length negotiations through mediation

                                  15     sessions and follow-up communications supervised by an experienced mediator. Villegas Decl. ¶¶

                                  16     35–36. Pursuant to Ninth Circuit precedent, the Court must examine the Settlement for additional

                                  17     indicia of collusion that would undermine a prima facie arm’s length negotiation. Because the

                                  18     Settlement was reached prior to class certification, there is “greater potential for a breach of

                                  19     fiduciary duty owed the class during settlement,” and the Court must examine the risk of collusion

                                  20     with “an even higher level of scrutiny for evidence of collusion or other conflicts of interest.” In

                                  21     re Bluetooth, 654 F.3d at 946. Signs of collusion may include (a) disproportionate distributions of

                                  22     settlement funds to counsel; (b) negotiation of attorney’s fees separate from the class fund (a

                                  23     “clear sailing” provision); or (c) an arrangement for funds not awarded to revert to the defendants.

                                  24     Id. If multiple indicia of implicit collusion are present, the district court has a heightened

                                  25     obligation to assure that fees are not unreasonably high. Id. (quoting Staton, 327 F.3d at 965).

                                  26            There is no evidence that the parties colluded here. Counsel’s fee request is proportionate

                                  27     to the settlement fund, there is no clear sailing provision, and no funds revert to Defendants. See

                                  28     generally Agreement. Further, the Court finds that the requested fees are in fact reasonable, to be
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 13 of1720of 35




                                   1     discussed in greater detail below. This factor weighs in favor of approval.

                                   2            Rules 23(e)(2)(C)–(D) specify factors for conducting a “substantive” review of the

                                   3     proposed settlement. The Court discusses each of the enumerated factors in turn.

                                   4                      a. Strength of Plaintiffs’ Case and Risk of Continuing Litigation
                                   5            In assessing “the costs, risks, and delay of trial and appeal,” Fed R. Civ. P. 23(e)(2)(C)(i),

                                   6     courts in the Ninth Circuit evaluate “the strength of the plaintiffs’ case; the risk, expense,

                                   7     complexity, and likely duration of further litigation; [and] the risk of maintaining class action

                                   8     status throughout the trial.” Hanlon, 150 F.3d at 1026. The Court finds that ATRS faced

                                   9     significant obstacles in this case, including needing to survive multiple motions to dismiss that

                                  10     raised important and complicated issues. The class would have faced similar risks at trial. As set

                                  11     forth in ATRS’s motion, these obstacles included challenges to the material falsity of each alleged

                                  12     misstatement, class certification challenges, loss causation and damages challenges, and the risks
Northern District of California
 United States District Court




                                  13     inherent in a “battle of the experts” of complex economic theories in a jury trial. Appr. Mot. at 6–

                                  14     14. Throughout the litigation and mediation, Defendants raised many substantive, potentially

                                  15     meritorious defenses to the claims; indeed, the Court narrowed the claims significantly through the

                                  16     motions to dismiss phase. See Villegas Decl. ¶¶ 46–60. Securities actions in particular are often

                                  17     long, hard-fought, complicated, and extremely difficult to win.

                                  18            The Court finds this factor weighs in favor of approval.

                                  19                      b. Effectiveness of Distribution Method, Terms of Attorney’s Fees, and
                                                             Supplemental Agreements
                                  20            The Court must likewise consider “the effectiveness of [the] proposed method of
                                  21     distributing relief to the class.” Fed. R. Civ. P. 23(e)(2)(C)(ii). The Court has already approved
                                  22     the Plan of Allocation and has determined that it is reasonable and effective. ECF 180. The
                                  23     “terms of [the] proposed award of attorney’s fees,” Fed. R. Civ. P. 23(e)(2)(C)(iii), are reasonable
                                  24     as discussed below. There are no supplemental agreements. This factor weighs in favor of
                                  25     approval.
                                  26                      c. Equitable Treatment of Class Members
                                  27            Rule 23 also requires consideration of whether “the proposal treats class members

                                  28     equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(C)(i). Consistent with this instruction,
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 14 of1820of 35




                                   1     the Court considers whether the proposal “improperly grant[s] preferential treatment to class

                                   2     representatives or segments of the class.” In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078,

                                   3     1079 (N.D. Cal. 2007) (citation omitted). Under the Agreement, class members who have

                                   4     submitted timely claims will receive payments on a pro rata basis based on the value of their

                                   5     original claim and the number of claims filed. Villegas Decl. ¶¶ 63–66. In granting preliminary

                                   6     approval, the Court found that this proposed allocation did not constitute improper preferential

                                   7     treatment. ECF 180. The Court adheres to its view that the allocation plan is equitable.

                                   8     Moreover, the service award ATRS seeks is reasonable and does not constitute inequitable

                                   9     treatment of class members. See Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 958–59 (9th Cir.

                                  10     2009). This factor weighs in favor of approval.

                                  11                        d. Settlement Amount
                                  12               “The relief that the settlement is expected to provide to class members is a central
Northern District of California
 United States District Court




                                  13     concern,” though it is not enumerated among the factors of Rule 23(e). 2018 R23 Advisory Notes.

                                  14     Thus, the Court considers “the amount offered in the settlement.” Hanlon, 150 F.3d at 1026.

                                  15     Crucial to the determination of adequacy is the ratio of “plaintiffs’ expected recovery balanced

                                  16     against the value of the settlement offer.” In re Tableware, 484 F. Supp. 2d at 1080. However,

                                  17     “[i]t is well-settled law that a cash settlement amounting to only a fraction of the potential

                                  18     recovery does not per se render the settlement inadequate or unfair.” Officers for Justice, 688 F.2d

                                  19     at 628.

                                  20               Here, the $7 million fund represents a substantial recovery for the class. Experts have

                                  21     calculated that the maximum potential damages in this action is $74 million to $140 million, with

                                  22     a recovery as low as $13 million to $36 million if Defendants’ disaggregation arguments had

                                  23     succeeded. See Villegas Decl. ¶ 5. The gross settlement amount thus represents a recovery of

                                  24     between 5% and 9.5% of non-disaggregated damages and between 19% to 54% if disaggregated

                                  25     arguments are credited. Id. Other courts have found similar recoveries to be fair and reasonable.

                                  26     See, e.g., In re Omnivision Techs., 559 F. Supp. 2d 1036, 1042 (N.D. Cal. 2007); Int’l Bhd. of

                                  27     Elec. Workers Local 697 Pension Fund v. Int’l Game Tech., Inc., No. 3:09-cv-00419-MMD, 2012

                                  28     WL 5199742, at *3 (D. Nev. Oct. 19, 2012) (finding 3.5% recovery to be within “the median
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 15 of1920of 35




                                   1     recovery in securities class actions settled in the last few years”).

                                   2               Accordingly, the amount of the settlement also weighs in favor of approval.

                                   3                        e. Counsel’s Experience
                                   4               The Court also considers “the experience and views of counsel.” Hanlon, 150 F. 3d at

                                   5     1026. Labaton Sucharow has extensive experience representing plaintiffs in securities and

                                   6     financial class action lawsuits. See generally Villegas Decl., Ex. 3, ECF 174-3. That such

                                   7     experienced counsel advocate in favor of the settlement weighs in favor of approval.

                                   8            C.      Objections
                                   9               “[T]he absence of a large number of objections to a proposed class action settlement raises

                                  10     a strong presumption that the terms of a proposed class settlement action are favorable to the class

                                  11     members.” Omnivision, 559 F. Supp. 2d at 1043 (citation omitted). Here, Class Counsel and the

                                  12     Court received zero objections. Cavallo Suppl. Decl. ¶ 3. Many potential class members are
Northern District of California
 United States District Court




                                  13     sophisticated institutional investors; the lack of objections from such institutions indicates that the

                                  14     settlement is fair and reasonable. See In re Citigroup Inc. Sec. Litig., 965 F. Supp. 2d 369, 382

                                  15     (S.D.N.Y. 2013); In re Linerboard Antitrust Litig., 321 F. Supp. 2d 619, 629 (E.D. Pa. 2004).

                                  16     Likewise, there were only two requests for exclusion, one of which KCC deemed invalid. See id.

                                  17     ¶ 3. This positive response from the class confirms that the settlement is fair and reasonable.

                                  18                                                       ***

                                  19               Balancing the relevant factors, the Court finds the settlement fair and reasonable under

                                  20     Rule 23(e) and Hanlon.

                                  21          D.      CONCLUSION
                                  22               For the foregoing reasons, and after considering the record as a whole, the Court finds that

                                  23     notice of the proposed settlement was adequate, the settlement was not the result of collusion, and

                                  24     the settlement is fair, adequate, and reasonable.

                                  25               Lead Plaintiff’s Motion for Final Approval of Class Action Settlement and Plan of

                                  26     Allocation is GRANTED.

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                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 16 of2020of 35



                                         III.    MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND PAYMENT OF
                                   1             EXPENSES
                                   2             ATRS seeks an award of attorneys’ fees totaling $1.75 million, reimbursement of litigation

                                   3     costs and expenses in the amount of $167,200, and a service award of $2,180.80 for ATRS. The

                                   4     Court also considers the reasonableness of the Settlement Administrator’s requested costs.

                                   5            A.     Attorneys’ Fees and Expenses
                                   6                   1. Legal Standard
                                   7             “While attorneys’ fees and costs may be awarded in a certified class action where so

                                   8     authorized by law or the parties’ agreement, Fed. R. Civ. P. 23(h), courts have an independent

                                   9     obligation to ensure that the award, like the settlement itself, is reasonable, even if the parties have

                                  10     already agreed to an amount.” In re Bluetooth, 654 F.3d at 941. “Where a settlement produces a

                                  11     common fund for the benefit of the entire class,” as here, “courts have discretion to employ either

                                  12     the lodestar method or the percentage-of-recovery method” to determine the reasonableness of
Northern District of California
 United States District Court




                                  13     attorneys’ fees. Id. at 942.

                                  14             Under the percentage-of-recovery method, the attorneys are awarded fees in the amount of

                                  15     a percentage of the common fund recovered for the class. Id. Courts applying this method

                                  16     “typically calculate 25% of the fund as the benchmark for a reasonable fee award, providing

                                  17     adequate explanation in the record of any special circumstances justifying a departure.” Id.

                                  18     (internal quotation marks omitted). However, “[t]he benchmark percentage should be adjusted, or

                                  19     replaced by a lodestar calculation, when special circumstances indicate that the percentage

                                  20     recovery would be either too small or too large in light of the hours devoted to the case or other

                                  21     relevant factors.” Six (6) Mexican Workers v. Arizona Citrus Growers, 904 F.3d 1301, 1311 (9th

                                  22     Cir. 2011). Relevant factors to a determination of the percentage ultimately awarded include “(1)

                                  23     the results achieved; (2) the risk of litigation; (3) the skill required and quality of work; (4) the

                                  24     contingent nature of the fee and the financial burden carried by the plaintiffs; and (5) awards made

                                  25     in similar cases.” Tarlecki v. bebe Stores, Inc., No. C 05-1777 MHP, 2009 WL 3720872, at *4

                                  26     (N.D. Cal. Nov. 3, 2009).

                                  27             Under the lodestar method, attorneys’ fees are “calculated by multiplying the number of

                                  28     hours the prevailing party reasonably expended on the litigation (as supported by adequate
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 17 of2120of 35




                                   1     documentation) by a reasonable hourly rate for the region and for the experience of the lawyer.”

                                   2     In re Bluetooth, 654 F.3d at 941. This amount may be increased or decreased by a multiplier that

                                   3     reflects factors such as “the quality of representation, the benefit obtained for the class, the

                                   4     complexity and novelty of the issues presented, and the risk of nonpayment.” Id. at 942.

                                   5            In common fund cases, a lodestar calculation may provide a cross-check on the

                                   6     reasonableness of a percentage award. Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050 (9th Cir.

                                   7     2002). Where the attorneys’ investment in the case “is minimal, as in the case of an early

                                   8     settlement, the lodestar calculation may convince a court that a lower percentage is reasonable.”

                                   9     Id. “Similarly, the lodestar calculation can be helpful in suggesting a higher percentage when

                                  10     litigation has been protracted.” Id. Thus even when the primary basis of the fee award is the

                                  11     percentage method, “the lodestar may provide a useful perspective on the reasonableness of a

                                  12     given percentage award.” Id. “The lodestar cross-check calculation need entail neither
Northern District of California
 United States District Court




                                  13     mathematical precision nor bean counting. . . . [Courts] may rely on summaries submitted by the

                                  14     attorneys and need not review actual billing records.” Covillo v. Specialtys Cafe, No. C-11-

                                  15     00594-DMR, 2014 WL 954516, at *6 (N.D. Cal. Mar. 6, 2014) (internal quotation marks and

                                  16     citation omitted).

                                  17            An attorney is also entitled to “recover as part of the award of attorney’s fees those out-of-

                                  18     pocket expenses that would normally be charged to a fee paying client.” Harris v. Marhoefer, 24

                                  19     F.3d 16, 19 (9th Cir. 1994) (internal quotation marks and citation omitted).

                                  20                  2. Discussion
                                  21            ATRS seeks an award of attorneys’ fees totaling $1.75 million, which represents 25% of

                                  22     the $7 million gross Settlement Fund, as well as litigation expenses and costs in the amount of

                                  23     $167,200. See Fees Mot at 1.

                                  24            Addressing expenses first, the Court does not hesitate to approve an award in the requested

                                  25     amount of $167,200. Class Counsel have submitted an itemized list of expenses by category of

                                  26     expense incurred through April 15, 2019, totaling $164,647.87, excluding Settlement

                                  27     Administration fees. See ECF 174-3, Ex. C. The Court has reviewed the list and finds the

                                  28     expenses to be reasonable.
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 18 of2220of 35




                                   1            The Court likewise is satisfied that the request for attorneys’ fees is reasonable. Using the

                                   2     percentage-of-recovery method, the Court starts at the 25% benchmark. See In re Bluetooth, 654

                                   3     F.3d at 942. ATRS requests 25%, given the exceptional results achieved, the risks of the

                                   4     litigation, the fine quality of Class Counsel’s work, and the contingent nature of the fee. Courts

                                   5     have awarded comparable percentages in similar cases. See Villegas Decl.; Destefano v. Zynga,

                                   6     Inc., No. 12-cv-04007-JSC, 2016 WL 537946, at *23 (N.D. Cal. Feb. 11, 2016) (25%);

                                   7     Omnivision, 559 F. Supp. 2d at 1049 (28%). As of April 15, 2019, Labaton Sucharow expended

                                   8     5,778.7 hours litigating this action. Villegas Decl., Ex. 3 ¶ 6 & Ex. A. A lodestar cross-check

                                   9     confirms the reasonableness of the requested fees, which amounts to a 0.53 multiplier of the

                                  10     lodestar in the amount of $3,260,714.50. Id. Courts have found that “[m]ultipliers of 1 to 4 are

                                  11     commonly found to be appropriate in common fund cases.” Aboudi v. T-Mobile USA, Inc., No.

                                  12     12-CV-2169-BTM, 2015 WL 4923602, at *7 (S.D. Cal. Aug. 18, 2015); see also Petersen v. CJ
Northern District of California
 United States District Court




                                  13     Am., Inc., No. 14-CV-2570-DMS, 2016 WL 5719823, at *1 (S.D. Cal. Sept. 30, 2016) (awarding

                                  14     1.12 multiplier and recognizing that “the majority of fee awards in the district courts in the Ninth

                                  15     Circuit are 1.5 to 3 times higher than lodestar”). Thus, a multiplier below 1.0 is below the range

                                  16     typically awarded by courts and is presumptively reasonable.

                                  17            Lead Plaintiff’s motion for attorneys’ fees and expenses is GRANTED. ATRS is awarded

                                  18     expenses in the amount of $167,200 and attorneys’ fees in the amount of $1.75 million.

                                  19            B.    Incentive Award
                                  20            Lead Plaintiff ATRS requests an incentive award in the amount of $2,180.80. The Private

                                  21     Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4(a)(4), limits a class representative’s

                                  22     recovery to an amount “equal, on a per share basis, to the portion of the final judgment or

                                  23     settlement awarded to all other members of the class,” but also provides that “[n]othing in this

                                  24     paragraph shall be construed to limit the award of reasonable costs and expenses (including lost

                                  25     wages) directly relating to the representation of the class to any representative party serving on

                                  26     behalf of a class.” Incentive awards “are discretionary . . . and are intended to compensate class

                                  27     representatives for work done on behalf of the class, to make up for financial or reputational risk

                                  28     undertaken in bringing the action, and, sometimes, to recognize their willingness to act as a private
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 19 of2320of 35




                                   1     attorney general.” Rodriguez, 563 F.3d at 958–59 (internal citation omitted).

                                   2             “Incentive awards typically range from $2,000 to $10,000.” Bellinghausen v. Tractor

                                   3     Supply Co., 306 F.R.D. 245, 267 (N.D. Cal. 2015). Service awards as high as $5,000 are

                                   4     presumptively reasonable in this judicial district. See, e.g., Camberis v. Ocwen Loan Serv. LLC,

                                   5     Case No. 14-cv-02970-EMC2015 WL 7995534, at *3 (N.D. Cal. Dec. 7, 2015). ATRS’s

                                   6     participation in this case was substantial and was essential to obtaining the considerable monetary

                                   7     recovery which will be enjoyed by each class member. See Villegas Decl., Ex. 1 ¶¶ 8–11. Two

                                   8     representatives of ATRS expended 25 hours supervising and participating in the litigation and

                                   9     their requested award is directly tied to their normal hourly rates. Id. ¶¶ 10–11. Given the amount

                                  10     of time and assistance ATRS put into the case and the success of the recovery, an incentive award

                                  11     in the amount of $2,180.80 is proportional to the class members’ recoveries. See Hayes v.

                                  12     MagnaChip Semiconductor Corp., No.14-cv-01160-JST, 2016 WL 6902856 at *10 (N.D. Cal.
Northern District of California
 United States District Court




                                  13     Nov. 21, 2016) (noting that $5,000 incentive awards are presumptively reasonable in the 9th

                                  14     Circuit); In re Am. Apparel S’holder Litig., No. CV 10-06352 MMM, 2014 WL 10212865, at *34

                                  15     (C.D. Cal. July 28, 2014) (awarding an incentive award of $6,600 in a securities class action).

                                  16             The Court concludes that the requested $2,180.80 incentive award is appropriate in this

                                  17     case.

                                  18             C.   Settlement Administrator Costs
                                  19             The Court also holds that it is appropriate to award KCC its costs. In its preliminary

                                  20     approval order, the Court held that Lead Counsel may pay KCC its costs in an amount not to

                                  21     exceed $500,000. See ECF 167 ¶ 20. To date, ATRS has not submitted evidence regarding the

                                  22     total final costs requested by KCC. Given the somewhat complex nature of the allocation plan,

                                  23     the Court approves the awarding of costs to KCC in an amount not to exceed $500,000 subject to

                                  24     ATRS submitting an accounting of such costs with a request that the Court approve the final

                                  25     amount. ATRS shall submit such a request by administrative motion within 14 days of KCC’s

                                  26     final accounting. If KCC does not reach this cap, the excess funds shall be distributed to the class

                                  27     claimants according to the provisions of the Agreement if practicable or distributed through Cy

                                  28     Pres.
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                                       Case 4:21-cv-02427
                                          Case             Document
                                                5:15-cv-04883-BLF   10-1 Filed
                                                                  Document  182on Filed
                                                                                  09/09/21  in TXSD
                                                                                        07/22/19     Page
                                                                                                  Page 20 of2420of 35




                                   1     IV.    ORDER

                                   2            For the reasons discussed above,

                                   3            (1)     Lead Plaintiff’s Motion for Final Approval of Class Action Settlement and Plan of

                                   4                    Allocation is GRANTED; and

                                   5            (2)     Lead Counsel’s Motion for an Award of Attorneys’ Fees and Payment of Expenses

                                   6                    is GRANTED. ATRS is awarded attorneys’ fees in the amount of $1.75 million,

                                   7                    costs and expenses in the amount of $167,200, and a service award in the amount

                                   8                    of $2,180.80.

                                   9            (3)     The Settlement Administrator costs are APPROVED in an amount not to exceed

                                  10                    $500,000.

                                  11            Without affecting the finality of this Order and accompanying Judgment in any way, the

                                  12     Court retains jurisdiction over (1) implementation and enforcement of the Settlement Agreement
Northern District of California
 United States District Court




                                  13     until each and every act agreed to be performed by the parties pursuant to the Settlement

                                  14     Agreement has been performed; (2) any other actions necessary to conclude the Settlement and to

                                  15     administer, effectuate, interpret, and monitor compliance with the provisions of the Settlement

                                  16     Agreement; and (3) all parties to this action and Settlement class members for the purpose of

                                  17     implementing and enforcing the Settlement Agreement. Within 21 days after the distribution of

                                  18     the settlement funds and payment of attorneys’ fees, the parties shall file a Post-Distribution

                                  19     Accounting in accordance with this District’s Procedural Guidance for Class Action Settlements.

                                  20     The parties must seek approval from the Court for any Cy Pres distributions.

                                  21

                                  22

                                  23            IT IS SO ORDERED.

                                  24     Dated: July 22, 2019

                                  25                                                      ______________________________________
                                                                                          BETH LABSON FREEMAN
                                  26                                                      United States District Judge
                                  27

                                  28
                                                                                          20
Case 4:21-cv-02427 Document 10-1 Filed on 09/09/21 in TXSD Page 25 of 35




               EXHIBIT B
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 1 of26
                                                                      10of 35



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13
     Liaison Counsel for the Class
14

15
                                 UNITED STATES DISTRICT COURT
16
                             NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN JOSE DIVISION
18
     In re EXTREME NETWORKS, INC.                       Master File No. 5:15-cv-04883-BLF
19   SECURITIES LITIGATION
                                                        CLASS ACTION
20
     This Document Relates to:                          [PROPOSED] FINAL ORDER AND
21                                                      JUDGMENT AS MODIFIED
22   All Actions.

23

24
            WHEREAS:
25
            A.      As of November 30, 2018, Arkansas Teacher Retirement System (“ATRS” or
26

27   “Lead Plaintiff”), on behalf of itself and all other members of the proposed Settlement Class, on

28

     MASTER FILE NO. 5:15-CV-04883-BLF
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 2 of27
                                                                      10of 35



 1   the one hand, and Extreme Networks, Inc. (“Extreme” or “the Company”), Charles W. Berger,

 2   Kenneth B. Arola, and John T. Kurtzweil (collectively, the “Individual Defendants,” and with the
 3
     Company, “Defendants”), on the other, by and through their counsel of record in the above-
 4
     captioned litigation (the “Action”), entered into a Stipulation and Agreement of Settlement (the
 5
     “Stipulation”), which is subject to review under Rule 23 of the Federal Rules of Civil Procedure
 6
     and which, together with the exhibits thereto, sets forth the terms and conditions of the proposed
 7

 8   settlement of the Action and the claims alleged in the Amended Consolidated Class Action

 9   Complaint, filed on June 2, 2017, on the merits and with prejudice (the “Settlement”);
10          B.      Pursuant to the Order Granting Preliminary Approval of Class Action Settlement,
11
     Approving Form and Manner of Notice, and Setting Date for Hearing on Final Approval of
12
     Settlement, entered March 13, 2019 (the “Preliminary Approval Order”), the Court scheduled a
13
     hearing for June 20, 2019, at 1:30 p.m. (the “Settlement Hearing”) to, among other things: (i)
14

15   determine whether the proposed Settlement of the Action on the terms and conditions provided

16   for in the Stipulation is fair, reasonable, and adequate, and should be approved by the Court; (ii)

17   determine whether a judgment as provided for in the Stipulation should be entered; and (iii) rule
18   on Lead Counsel’s Fee and Expense Application;
19
            C.      The Court ordered that the Notice of Pendency of Class Action, Proposed
20
     Settlement, and Motion for Attorneys’ Fees and Expenses (the “Notice”) and a Proof of Claim
21
     and Release form (“Proof of Claim”), substantially in the forms attached to the Preliminary
22

23   Approval Order as Exhibits 1 and 2, respectively, be mailed by first-class mail, postage prepaid,

24   on or before ten (10) business days after the date of entry of the Preliminary Approval Order

25   (“Notice Date”) to all potential Settlement Class Members who could be identified through
26
     reasonable effort, and that a Summary Notice of Pendency of Class Action, Proposed Settlement,
27

28

     MASTER FILE NO. 5:15-CV-04883-BLF                                                                2
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 3 of28
                                                                      10of 35



 1   and Motion for Attorneys’ Fees and Expenses (the “Summary Notice”), substantially in the form

 2   attached to the Preliminary Approval Order as Exhibit 3, be published in Investor’s Business
 3
     Daily and transmitted over PR Newswire within fourteen (14) calendar days of the Notice Date;
 4
             D.     The Notice and the Summary Notice advised potential Settlement Class Members
 5
     of the date, time, place, and purpose of the Settlement Hearing. The Notice further advised that
 6
     any objections to the Settlement were required to be filed with the Court and served on counsel
 7

 8   for the Parties such that they were received by May 23, 2019;

 9           E.     The provisions of the Preliminary Approval Order as to notice were complied
10   with;
11
             F.     On May 9, 2019, Lead Plaintiff moved for final approval of the Settlement, as set
12
     forth in the Preliminary Approval Order. The Settlement Hearing was duly held before this
13
     Court on June 20, 2019, at which time all interested Persons were afforded the opportunity to be
14

15   heard; and

16           G.     This Court has duly considered Lead Plaintiff’s motion, the affidavits,

17   declarations, memoranda of law submitted in support thereof, the Stipulation, and all of the
18   submissions and arguments presented with respect to the proposed Settlement;
19
             NOW, THEREFORE, after due deliberation, IT IS ORDERED, ADJUDGED AND
20
     DECREED that:
21
             1.     This Judgment incorporates and makes a part hereof: (i) the Stipulation filed with
22

23   the Court on November 30, 2018; and (ii) the Notice, which was filed with the Court on May 9,

24   2019. Capitalized terms not defined in this Judgment shall have the meaning set forth in the

25   Stipulation.
26

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                              3
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 4 of29
                                                                      10of 35



 1          2.      This Court has jurisdiction over the subject matter of the Action and over all

 2   parties to the Action, including all Settlement Class Members.
 3
            3.      The Court hereby affirms its determinations in the Preliminary Approval Order
 4
     and finally certifies, for purposes of the Settlement only, pursuant to Rules 23(a) and (b)(3) of
 5
     the Federal Rules of Civil Procedure, the Settlement Class of: all persons and entities that
 6
     purchased or otherwise acquired the publicly traded common stock and exchange-traded call
 7

 8   options, and/or sold put options, of Extreme Networks, Inc. during the period from September

 9   12, 2013 through April 9, 2015, inclusive, and who were damaged thereby. Excluded from the
10   Settlement Class are: (i) the Defendants; (ii) the officers and directors of the Company during the
11
     Class Period; (iii) the Company’s subsidiaries and affiliates; (iv) the Company’s employee
12
     retirement and benefit plan(s) and their participants or beneficiaries, to the extent they made
13
     purchases through such plan(s); (v) members of the immediate families of the Individual
14

15   Defendants and the officers and directors of the Company during the Class Period; (vi) any entity

16   in which any Defendant has or had a controlling interest; and (vii) the legal representatives,

17   heirs, successors, and assigns of any such excluded party. Also excluded from the Settlement
18   Class are those Persons listed on the annexed Exhibit A as having submitted an exclusion request
19
     allowed by the Court.
20
            4.      Pursuant to Fed. R. Civ. P. 23, and for purposes of the Settlement only, the Court
21
     hereby re-affirms its determinations in the Preliminary Approval Order and finally certifies
22

23   ATRS as Class Representative for the Settlement Class; and finally appoints the law firm of

24   Labaton Sucharow LLP as Class Counsel for the Settlement Class and the law firm of Berman

25   Tabacco as Liaison Counsel for the Settlement Class.
26

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                   4
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 5 of30
                                                                      10of 35



 1           5.      The Court finds that the mailing and publication of the Notice, Summary Notice,

 2   and Proof of Claim: (i) complied with the Preliminary Approval Order; (ii) constituted the best
 3
     notice practicable under the circumstances; (iii) constituted notice that was reasonably calculated
 4
     to apprise Settlement Class Members of the effect of the Settlement, of the proposed Plan of
 5
     Allocation, of Lead Counsel’s request for an award of attorney’s fees and payment of litigation
 6
     expenses incurred in connection with the prosecution of the Action, of Settlement Class
 7

 8   Members’ right to object or seek exclusion from the Settlement Class, and of their right to appear

 9   at the Settlement Hearing; (iv) constituted due, adequate, and sufficient notice to all Persons
10   entitled to receive notice of the proposed Settlement; and (v) satisfied the notice requirements of
11
     Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution (including the
12
     Due Process Clause), and Section 21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C. §
13
     78u-4(a)(7), as amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”).
14

15           6.      There have been no objections to the Settlement.

16           7.      In light of the benefits to the Settlement Class, the complexity, expense and

17   possible duration of further litigation against Defendants, the risks of establishing liability and
18   damages, and the costs of continued litigation, the Court hereby fully and finally approves the
19
     Settlement as set forth in the Stipulation in all respects, and finds that the Settlement is, in all
20
     respects, fair, reasonable and adequate, and in the best interests of Lead Plaintiff and the
21
     Settlement Class. This Court further finds the Settlement set forth in the Stipulation is the result
22

23   of arm’s-length negotiations between experienced counsel representing the interests of Lead

24   Plaintiff, the Settlement Class, and Defendants. The Settlement shall be consummated in

25   accordance with the terms and provisions of the Stipulation.
26

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                      5
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 6 of31
                                                                      10of 35



 1           8.      The Amended Consolidated Class Action Complaint, filed on June 2, 2017, is

 2   dismissed in its entirety, with prejudice, and without costs to any Party, except as otherwise
 3
     provided in the Stipulation.
 4
             9.      The Court finds that during the course of the Action, the Parties and their
 5
     respective counsel at all times complied with the requirements of Rule 11 of the Federal Rules of
 6
     Civil Procedure.
 7

 8           10.     Upon the Effective Date of the Settlement, Lead Plaintiff and each and every

 9   other Settlement Class Member, on behalf of themselves and each of their respective heirs,
10   executors, trustees, administrators, predecessors, successors, and assigns, shall be deemed to
11
     have fully, finally, and forever waived, released, discharged, and dismissed each and every one
12
     of the Released Claims against each and every one of the Released Defendant Parties and shall
13
     forever be barred and enjoined from commencing, instituting, prosecuting, or maintaining any
14

15   and all of the Released Claims against any and all of the Released Defendant Parties.

16           11.     Upon the Effective Date of the Settlement, Defendants, on behalf of themselves

17   and each of their respective heirs, executors, trustees, administrators, predecessors, successors,
18   and assigns, shall be deemed to have fully, finally, and forever waived, released, discharged, and
19
     dismissed each and every one of the Released Defendants’ Claims against each and every one of
20
     the Released Plaintiff Parties and shall forever be barred and enjoined from commencing,
21
     instituting, prosecuting, or maintaining any and all of the Released Defendants’ Claims against
22

23   any and all of the Released Plaintiff Parties.

24           12.     Each Settlement Class Member, whether or not such Settlement Class Member

25   executes and delivers a Proof of Claim, is bound by this Judgment, including, without limitation,
26
     the release of claims as set forth in the Stipulation.
27

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                6
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 7 of32
                                                                      10of 35



 1           13.    This Judgment and the Stipulation, whether or not consummated, and any

 2   discussion, negotiation, proceeding, or agreement relating to the Stipulation, the Settlement, and
 3
     any matter arising in connection with settlement discussions or negotiations, proceedings, or
 4
     agreements, shall not be offered or received against or to the prejudice of the Parties or their
 5
     respective counsel, for any purpose other than in an action to enforce the terms hereof, and in
 6
     particular:
 7

 8                  (a)     do not constitute, and shall not be offered or received against or to the

 9   prejudice of Defendants as evidence of, or construed as, or deemed to be evidence of any
10   presumption, concession, or admission by Defendants with respect to the truth of any allegation
11
     by Lead Plaintiff and the Settlement Class, or the validity of any claim that has been or could
12
     have been asserted in the Action or in any litigation, including but not limited to the Released
13
     Claims, or of any liability, damages, negligence, fault or wrongdoing of Defendants or any
14

15   person or entity whatsoever;

16                  (a)     do not constitute, and shall not be offered or received against or to the

17   prejudice of Defendants as evidence of a presumption, concession, or admission of any fault,
18   misrepresentation, or omission with respect to any statement or written document approved or
19
     made by Defendants, or against or to the prejudice of Lead Plaintiff, or any other member of the
20
     Settlement Class as evidence of any infirmity in the claims of Lead Plaintiff, or the other
21
     members of the Settlement Class;
22

23                  (b)     do not constitute, and shall not be offered or received against or to the

24   prejudice of Defendants, Lead Plaintiff, any other member of the Settlement Class, or their

25   respective counsel, as evidence of a presumption, concession, or admission with respect to any
26
     liability, damages, negligence, fault, infirmity, or wrongdoing, or in any way referred to for any
27

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                  7
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 8 of33
                                                                      10of 35



 1   other reason against or to the prejudice of any of the Defendants, Lead Plaintiff, other members

 2   of the Settlement Class, or their respective counsel, in any other civil, criminal, or administrative
 3
     action or proceeding, other than such proceedings as may be necessary to effectuate the
 4
     provisions of the Stipulation;
 5
                    (c)     do not constitute, and shall not be construed against Defendants, Lead
 6
     Plaintiff, or any other member of the Settlement Class, as an admission or concession that the
 7

 8   consideration to be given hereunder represents the amount that could be or would have been

 9   recovered after trial; and
10                  (d)     do not constitute, and shall not be construed as or received in evidence as
11
     an admission, concession, or presumption against Lead Plaintiff, or any other member of the
12
     Settlement Class that any of their claims are without merit or infirm or that damages recoverable
13
     under the Complaint would not have exceeded the Settlement Amount.
14

15          14.     The administration of the Settlement, and the decision of all disputed questions of

16   law and fact with respect to the validity of any claim or right of any Person to participate in the

17   distribution of the Net Settlement Fund, shall remain under the authority of this Court.
18          15.     In the event that the Settlement does not become effective in accordance with the
19
     terms of the Stipulation, then this Judgment shall be rendered null and void to the extent
20
     provided by and in accordance with the Stipulation and shall be vacated, and in such event, all
21
     orders entered and releases delivered in connection herewith shall be null and void to the extent
22

23   provided by and in accordance with the Stipulation.

24          16.     Without further order of the Court, the Parties may agree to reasonable extensions

25   of time to carry out any of the provisions of the Stipulation.
26

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                 8
     [PROPOSED] FINAL ORDER AND JUDGMENT
 CaseCase
      4:21-cv-02427  DocumentDocument
          5:15-cv-04883-BLF   10-1 Filed on 09/09/21
                                       183            in TXSD
                                            Filed 07/22/19    Page
                                                            Page 9 of34
                                                                      10of 35



 1            17.   The Parties are hereby directed to consummate the Stipulation and to perform its

 2   terms.
 3                                    has been
              18.   A separate order shall be entered regarding Lead Counsel’s application for
 4                                                                                         has been
     attorneys’ fees and payment of expenses as allowed by the Court. A separate order shall be
 5
     entered regarding the proposed Plan of Allocation for the Net Settlement Fund. Such orders
 6
     shall in no way disturb or affect this Judgment and shall be considered separate from this
 7

 8   Judgment.

 9            19.   Without affecting the finality of this Judgment in any way, this Court hereby
10   retains continuing jurisdiction over: (i) implementation of the Settlement; (ii) the allowance,
11
     disallowance or adjustment of any Settlement Class Member’s claim on equitable grounds and
12
     any award or distribution of the Settlement Fund; (iii) disposition of the Settlement Fund; (iv)
13
     any applications for attorneys’ fees, costs, interest and payment of expenses in the Action; (v) all
14

15   parties for the purpose of construing, enforcing and administering the Settlement and this

16   Judgment; and (vi) other matters related or ancillary to the foregoing. There is no just reason for

17   delay in the entry of this Judgment and immediate entry by the Clerk of the Court is expressly
18   directed.
19
              DATED this _______
                          22     day of ______________,
                                             July       2019
20
                                                              BY THE COURT:
21
                                                              ______________________________
22
                                                              HON. BETH LABSON FREEMAN
23                                                            UNITED STATES DISTRICT JUDGE

24

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     MASTER FILE NO. 5:15-CV-04883-BLF                                                                  9
     [PROPOSED] FINAL ORDER AND JUDGMENT
 Case 4:21-cv-02427
    Case             Document
          5:15-cv-04883-BLF   10-1 Filed
                            Document  183on Filed
                                            09/09/21  in TXSD
                                                  07/22/19     Page
                                                            Page 10 of3510of 35



 1                                          EXHIBIT A

 2

 3
                   1. Walter Jitner, Napa, CA
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     MASTER FILE NO. 5:15-CV-04883-BLF                                            10
     [PROPOSED] FINAL ORDER AND JUDGMENT
